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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

OLAN WAYNE BOYDSTON,

                              Plaintiff,

v.                                                    Case No. CIV-14-816-D

CITY OF SPENCER, OKLAHOMA,

AND


NICOLE MUKES, Individually and
in her official capacity as City Manager
of he City of Spencer, Oklahoma,

                              Defendants.

                                           COMPLAINT

                                               I.
                                    Jurisdiction and Venue


      The jurisdiction of this Court is invoked pursuant to 42 U.S.C. §1983 seeking to redress a
      violation of the Fourteenth Amendment to the Constitution of the United Stated.
      In addition, Plaintiff invokes this Court's ancillary jurisdiction to adjudicate state
      common law claims and state contract claims.
      Plaintiff, Olan Boydston is, and at all times material herein, has been, a resident of
      Yukon, Oklahoma within the jurisdiction of this Court. At all times material herein
      Plaintiff, Olan Boydston, is, and has been, an employee of the City of Spencer and by the
      laws, charters and ordinances of the State of Oklahoma and the City of Spencer.
      The Defendant, City of Spencer, is a council manager city government of the State of
      Oklahoma. At all times material herein, the City of Spencer is, and has been, an
      employer as defined by the laws, charters and ordinances of the State of Oklahoma and
      the City of Spencer.


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